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    9
   10                      UNITED STATES DISTRICT COURT
   11        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   12
   13 NEMAN BROTHERS & ASSOC.,                     Case No. 2:20-cv-11181-CAS-JPRC
      INC., a California Corporation,
   14                                              [PROPOSED] ORDER GRANTING
                   Plaintiff,                      DEFENDANT AND
   15                                              COUNTERCLAIM PLAINTIFF
            v.                                     INTERFOCUS, INC. D.B.A.
   16                                              WWW.PATPAT.COM’S
      INTERFOCUS, INC. d.b.a.                      APPLICATION TO FILE
   17 www.patpat.com, a Delaware                   DEPOSITION EXCERPTS OF
      Corporation; CAN WANG, and                   YOEL NEMAN UNDER SEAL
   18 individual, and DOES 1-10, inclusive.,
                                                   Continued Hearing Date: December 6,
   19              Defendants.                     2021
                                                   Time: 10:00 am
   20                                              Courtroom: Courtroom 8D
      INTERFOCUS, INC. d.b.a.
   21 www.patpat.com, a Delaware                   The Hon. Christina A. Snyder
      Corporation; CAN WANG, an
   22 individual, and DOES 1-10, inclusive,
   23              Counterclaim Plaintiffs,
   24        v.
   25 NEMAN BROTHERS & ASSOC.,
      INC., a California Corporation,
   26
                   Counterclaim Defendant.
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                    [PROPOSED] ORDER GRANTING APPLICATION TO FILE UNDER SEAL
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    1        Good cause appearing, it is ordered that the deposition excerpts of Yoel
    2 Neman marked as Exhibit 2 to the Declaration of Mark S. Lee filed November 1,
    3 2021, are ordered filed under Seal.
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    5 IT IS SO ORDERED.
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      Dated:
    7                                               The Honorable Christine A.Snyder
    8                                               United States District Judge

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                    [PROPOSED] ORDER GRANTING APPLICATION TO FILE UNDER SEAL
